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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

CLEAN LABEL PROJECT FOUNDATION,           )
                                          )
            Plaintiff,                    )
                                          )
v.                                        ) Case No. 1:20-cv-03154-KBJ
                                          )
THE HAIN CELESTIAL GROUP INC.,            ) The Honorable Ketanji Brown Jackson
                                          )
            Defendant.                    )
                                          )
__________________________________________)

 DEFENDANT THE HAIN CELESTIAL GROUP INC.’S RESPONSE IN OPPOSITION
     TO PLAINTIFF’S MOTION TO REMAND TO D.C. SUPERIOR COURT
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                                           INTRODUCTION

        In its Motion to Remand to D.C. Superior Court, (ECF 7), Plaintiff Clean Label Project

Foundation (“Plaintiff”) argues that its Complaint should be remanded to D.C. Superior Court.

However, Plaintiff is mistaken. This Court possesses original jurisdiction pursuant to both the

Class Action Fairness Act (“CAFA”) and under federal question jurisdiction.

        First, this Court possesses diversity jurisdiction because Plaintiff’s Complaint satisfies all

of the elements of CAFA. Under controlling D.C. case law, Plaintiff’s Complaint constitutes a

“class action” subject to CAFA. While Plaintiff attempts to argue that its Complaint, which seeks

to represent a class of D.C. consumers, somehow does not constitute a “class action,” both the

relevant law and Plaintiff’s own allegations make clear that it qualifies as such. Outside of

contesting whether the action constitutes a “class action,” Plaintiff does not seriously contest

whether the Parties are minimally diverse under CAFA nor does Plaintiff argue that its putative

class does not contain at least 100 members. 1 Finally, because CAFA requires that this Court

aggregate the amount in controversy, and because Plaintiff does not contest how Defendant The

Hain Celestial Group, Inc. (“Hain”) arrived at its potential costs of complying with a judgment, at

least $5,000,000 is at issue, meaning this Court has CAFA jurisdiction over the Complaint.

        Alternatively, this Court possesses federal question jurisdiction pursuant to 28 U.S.C. §

1331 because Plaintiff’s Complaint implicates significant federal issues. Specifically, despite

attempting to conceal its true purpose, Plaintiff’s Complaint attempts to challenge whether the

Product may be labeled and marketed as “organic” despite allegedly containing trace amounts of

BPA. As the prior suit of Organic Consumers Association v. Hain Celestial Group, Inc., which



1
  Where a plaintiff does not dispute in a motion to remand Defendant’s contentions, Plaintiff concedes those
arguments. See Cannon v. Wells Fargo, N.A., 908 F. Supp. 2d 110, 114 (D.D.C. 2012) (citing Hopkins v. Women’s
Div., Gen. Bd. of Global Ministries, 284 F. Supp. 2d 15, 25 (D.D.C. 2003)).

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involved a similar attack on the Product, made clear, Plaintiff’s claim presents an obstacle to the

accomplishment and execution of federal labeling law.            As a result, Plaintiff’s Complaint

necessarily raises important issues of federal law belonging in federal court, and removal is

appropriate.

        Under either CAFA diversity jurisdiction or federal question jurisdiction, Plaintiff’s

Complaint belongs in federal court. As a result, this Court should deny Plaintiff’s motion and

proceed to the responsive pleading phase of this litigation.

                                            ARGUMENT

        Removal of this matter is appropriate under this Court’s CAFA jurisdiction. CAFA

provides that federal courts have original jurisdiction over (i) a “class action”, wherein (ii) any

plaintiff is diverse from any defendant, (iii) there are at least 100 members in the putative class,

and (iv) the amount in controversy exceeds the sum or value of $5,000,000, exclusive of interests

and costs. 28 U.S.C. § 1332(d). “When the plaintiff makes a motion to remand, the defendant

bears the burden of proving federal jurisdiction.” Apton v. Volkswagen Grp. of Am., Inc., 233 F.

Supp. 3d 4, 10 (D.D.C. 2017) (citation omitted). However, “[n]o antiremoval presumption attends

cases involving CAFA, which Congress enacted to facilitate adjudication of certain class actions

in federal court.” Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89 (2014); Bradford

v. George Washington Univ., 249 F. Supp. 3d 325, 331 (D.D.C. 2017) (discussing the lack of an

antiremoval presumption based on Congress’ desire for “adjudication of certain class actions in

federal court” (citation omitted)).      Further, when determining the amount in controversy,

“[a]bsolute certainty is not essential; it suffices that there is a present probability that the damages

. . . meet the statutory requirement.” Comm. for GI Rights v. Callaway, 518 F.2d 466, 472 (D.C.

Cir. 1975). Indeed, “calculating the amount in controversy for purposes of the Class Action



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Fairness Act is less a prediction of how much the plaintiffs are ultimately likely to recover than it

is an estimate of how much will be put at issue during the litigation.” Lavelle v. State Farm Mut.

Auto Ins. Co., 235 F. Supp. 3d 217, 224 (D.D.C. 2017) (citation and quotation marks omitted).

        Plaintiff’s lawsuit satisfies all of CAFA’s requirements and is removable. The action

constitutes a class action with over 100 putative class members, the Parties are minimally diverse,

and Plaintiff’s requests for both monetary and injunctive relief are in excess of $5 million

combined, satisfying CAFA’s jurisdictional requirements.

I.      Plaintiff’s Complaint Constitutes a “Class Action” Under D.C. Law and is Therefore
        Removable under CAFA.

        Despite Plaintiff’s arguments to the contrary, this case constitutes a “class action” under

D.C. law and is therefore removable under CAFA. Plaintiff argues that it “has not filed a class

action suit under Rule 23 of the Federal Rules of Civil Procedure. Thus, this case is not a class

action under Rule 23, nor are the jurisdictional requirements of Rule 23 applied.” (ECF 7 at 4.)

However, whether a case is explicitly brought under Rule 23 is irrelevant. Under CAFA, a class

action is “any civil action filed under rule 23 of the Federal Rules of Civil Procedure or similar

State statute or rule of judicial procedure authorizing an action to be brought by 1 or more

representative persons as a class action.” 28 U.S.C.§ 1332(d)(1)(B) (emphasis added). Indeed, in

drafting CAFA, the Senate Judiciary Committee stated that “the definition of ‘class action’ is to

be interpreted liberally” and that it “should not be confined solely to lawsuits that are labeled ‘class

actions’ by the named plaintiff or the state rulemaking authority.” S. Rep. No. 109-14, at 35

(2005). Rather, “lawsuits that resemble a purported class action should be considered class actions

for the purposes of applying these provisions.” Id. With this history in mind, Plaintiff’s Complaint

constitutes a “class action” for two distinct reasons: 1) Plaintiff seeks monetary relief, meaning its




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Complaint is a “class action;” and 2) Plaintiff brings its Complaint under a section of D.C.’s

consumer protection statute explicitly authorizing class actions.

       A.      Because D.C. law requires a representative action seeking monetary relief be
               brought as a class action, this case meets CAFA’s definition of a “class action.”

       Under D.C. law, Plaintiff’s Complaint constitutes a “class action” because it constitutes a

representative action seeking monetary relief.        Whether an action under D.C.’s consumer

protection law constitutes such a similar state statute is a question of D.C. law. See In re U-Haul

Int’l, Inc., No. 08-7122, 2009 WL 902414, at *1 (D.C. Cir. Apr. 6, 2009) (per curium). D.C. courts

have confirmed that D.C.’s consumer protection law is indeed a statute that authorizes—and

compels—a class action. See Rotunda v. Marriott Int’l, Inc., 123 A.3d 980, 989 (D.C. 2015); see

also Organic Consumers Ass’n v. General Mills, Inc., No. 2016 CA 6309 B, 2017 WL 2901210,

at *5 (D.C. Super. Ct. Apr. 27, 2017). The relevant section of D.C.’s consumer statute states:

“public interest organizations may, on behalf of the interests of a consumer or class of consumers,

bring an action seeking relief from the use by any person of a trade practice in violation of a law

of the District if the consumer or class could bring an action under subparagraph (A) of this

paragraph for relief from such use by such person or such trade practice.” D.C. Code § 28-

3905(k)(1)(D)(i) (emphasis added). Plaintiff explicitly brings its claim under D.C. Code § 28-

3905(k)(1)(D)(i), which authorizes Plaintiff to bring its case as a class action. (ECF 1-1 at ¶¶ 106,

110). Indeed, Plaintiff specifically notes that it is bringing this lawsuit in a representative, class

action fashion because it states that the statute it is suing under requires them to represent a

“consumer or class of consumers” and “to adequately represent those interests.” (ECF 1-1 at ¶¶

106, 107 (citing D.C. Code § 28-3905(k)(1)(D)(ii)).)

       In response, Plaintiff seeks to rely on a series of cases from this Court to argue that D.C.’s

consumer protection statute distinguishes representative actions as “separate and distinct


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procedural vehicles.” (ECF 7 at 5-6.) However, these cases, including Zuchman v. Monster

Beverage Corp., 958 F. Supp. 2d 293 (D.D.C. 2013), National Consumers League v. General

Mills, Inc., 680 F. Supp. 2d 132 (D.D.C. 2010), and Breakman v. AOL LLC, 545 F. Supp. 2d 96

(D.D.C. 2008), were decided prior to Rotunda and are no longer a correct view of D.C. law.

Because the question of whether a D.C. consumer protection law claim constitutes a class action

under CAFA due to its reliance on a state statute similar to Rule 23 is a question of D.C. law, see

In re U-Haul, 2009 WL 902414, at *1, Rotunda controls this Court’s analysis.

       The plaintiff in Rotunda brought a damages claim under D.C.’s consumer protection law

on behalf of himself and the “general public,” but attempted to affirmatively disclaim “any

intention to seek class certification” under D.C.’s Rule 23. 123 A.3d at 982. However, the trial

court dismissed plaintiff’s “general public” claims and held that a D.C. consumer protection claim

“brought by an individual on behalf of himself and other similarly situated members of the general

public is in essence a class action, whether pled as such or not, and must satisfy the requirements

of Rule 23.” Id. (emphasis added). On appeal, the D.C. Court of Appeals affirmed and held that

there was “no unambiguous evidence, in the 2000 amendments or the supporting legislative

history, that the Council meant to displace the Rule 23 framework in favor of improvised due

process and management devices for a whole sub-set of representative actions.” Id. at 988; see

also id. (holding there was no evidence that D.C.’s Council “repealed [Superior Court Civil Rule

23’s] application to representative suits under the CPPA”). The court further held that it feared

“deep uncertainty . . . would beset the effort to regulate CPPA actions on behalf of ‘the general

public’ outside Rule 23’s framework.” Id. at 986. As a result, the D.C. Court of Appeals held that

“the necessary vehicle for suits seeking class-wide damages remains Rule 23.” Id. at 989; compare

Fed. R. Civ. P. 23 with D.C. Super. Ct. R. 23.



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       Decisions from this Court subsequent to Rotunda have made clear that representative

actions under D.C.’s consumer protection are subject to D.C.’s Rule 23, whether styled as a “class

action” or a suit brought on behalf of the “general public.” See, e.g., Alston v. Whole Foods Mkt.

Grp., No. 17-2580, 2018 WL 2561041, at *1 (D.D.C. Apr. 13, 2018) (applying Rotunda and

holding that “Federal Rule of Civil Procedure 23 applies to DCCPPA actions under D.C. law”);

see generally Ford v. Chartone, Inc., 908 A.2d 72, 78 (D.C. 2006). Jurisdictions with similar

statutes have held the same. Cf. Song v. Charter Commc’ns Inc., No. 17cv325 JM (JLB), 2017

WL 1149286, at *1 n.1 (S.D. Cal. Mar. 28, 2017) (holding that while plaintiff “did not style his

complaint as a class action,” actions brought on behalf of California consumers “resemble a

purported class action” and “should be considered class actions” under CAFA). That, of course,

comports with the requirement that, as a decision from D.C.’s highest court, Rotunda represents

controlling law and is entitled to deference despite earlier case law from this Court to the contrary.

See, e.g., Williams v. Martinez, 586 F.3d 995, 1001 (D.C. Cir. 2009) (“[O]n questions of District

of Columbia law, this court defers to the D.C. Court of Appeals.”); In re U-Haul, 2009 WL 902414,

at *1 (“[T]he local courts should determine how this action, purported to be a non-class

representative action, should proceed.”); Congress v. D.C., 324 F. Supp. 3d 164, 173 (D.D.C.

2018) (holding courts should respect the “deference owed to the D.C. Court of Appeals on matters

of D.C. law” and “accord[] considerable persuasive weight to the conclusion of the D.C. Court of

Appeals, as to the final authority on D.C. law”).

       While Plaintiff seeks to distinguish its suit from Rotunda, such distinctions fail when

Plaintiff ultimately does seek recovery of damages.           Plaintiff claims that Rotunda “dealt

specifically with an action seeking ‘statutory or actual damages’ for the general public and not one

for injunctive relief as pled in the instant case.” (ECF 7 at 7.) Plaintiff further claims that “seeking



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injunctive relief on behalf of the general public does not implicate the class action framework.”

(ECF 7 at 7.) However, these distinctions are of no moment when Plaintiff’s Complaint clearly

seeks damages, including punitive damages and statutory damages. For instance, Plaintiff, in its

Complaint, requests punitive damages. (ECF 1-1 at 19, ¶ E.) “Punitive damages are properly

considered as part of the amount in controversy.” McQueen v. Woodstream Corp., 672 F. Supp.

2d 84, 88 (D.D.C. 2009) (citation omitted); see also Paleteria La Michoacana, Inc. v. Productos

Lacetos Tocumbo S.A. De C.V., 79 F. Supp. 3d 60, 72 (D.D.C. 2015) (holding punitive damages

to be “a form of monetary relief”). Further, Plaintiff in its Complaint requests “the remedies

available under D.C. Code § 28-3905(k)(2)(A-F).” (ECF 1-1 at 19.) Those remedies explicitly

include actual damages, D.C. Code § 3905(k)(2)(A)(ii), as well as “[t]reble damages, or $1,500

per violation, whichever is greater.” D.C. Code § 3905(k)(2)(A)(i). Plaintiff could have chosen

not to ask for these remedies for monetary relief in its Complaint. But it did, and those requests

have consequences. Notably, Plaintiff ignores these requested remedies in its Motion to Remand

and does not even attempt to argue that these requests are not for actual damages. Because Plaintiff

plainly brings an “action for damages,” Rotunda applies.

        Finally, Plaintiff attempts to rely on Animal Legal Defense Fund v. Hormel Foods Corp.,

249 F. Supp. 3d 53 (D.D.C. 2017), but it is distinguishable. Indeed, in Animal Legal Defense

Fund, defendant conceded that plaintiff brought a claim solely for injunctive relief and not

damages, but still “invite[d] the Court to extend the Rotunda decision to such suits.” Id. at 65.

Indeed, the Complaint in Animal Legal Defense Fund neither requested punitive damages nor the

remedies available under D.C. Code § 28-3905(k)(2)(A-F), like Plaintiff does here. 2 Id. at 56

(discussing plaintiff’s request for injunctive relief, attorneys’ fees, and interest). The Animal Legal


2
  The same is true for the Hackman v. One Brands, LLC case that Plaintiff relies on in its Motion to Remand. Hackman
is thus distinguishable for the same reason Animal Legal Defense Fund is.

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Defense Fund court declined to extend Rotunda, holding that “Rotunda related to suits for

damages, not for the type of injunctive relief sought here.” Id. at 64-65. While at least one D.C.

court has questioned the Animal Legal Defense Fund court’s reasoning, see Organic Consumers

Ass’n v. General Mills, Inc., 2017 WL 2901210, at *4, it is ultimately immaterial since Plaintiff

here affirmatively seeks monetary relief, meaning that Rotunda governs removal. Rotunda makes

clear that, when a representative action on behalf of the general public seeks monetary relief, it

proceeds within Rule 23’s framework. As a result, Plaintiff’s Complaint constitutes a “class

action” and is subject to removal under CAFA.

       B.      Because Plaintiff made the decision to bring its claim under D.C. Code § 28-
               3905(k)(1)(D)(i), which expressly authorizes actions on behalf a class of
               consumers, this case is a “class action.”

       Where Plaintiff explicitly brings its claim under a statute authorizing a class action, such

an action is removable under CAFA. CAFA provides for removal in instances where plaintiff

relies on a “State statute . . . authorizing an action to be brought . . . as a class action.” 28 U.S.C.

§ 1332(d)(1)(B). It cannot be disputed that D.C. Code § 28-3905(k)(1)(D)(i) is a state statute

authorizing actions to be brought as class actions: “[P]ublic interest organizations may, on behalf

of the interest of a consumer or a class of consumers, bring an action seeking relief” under D.C.’s

consumer protection statute.        D.C. Code § 28-3905(k)(1)(D)(i) (emphasis added). The

unambiguous language of both the federal removal statute and D.C.’s consumer protection law

make clear, therefore, that actions brought under D.C. Code § 28-3905(k)(1)(D)(i) are removable.

And, where unambiguous statutory language exists, “legislative history . . . need not be consulted

when, as here, the statutory text is unambiguous.” United States v. Woods, 571 U.S. 31, 46 n.5

(2013). Indeed, legislative history “can’t overcome a statute’s clear text and structure.” Azar v.

Allina Health Servs., 139 S. Ct. 1804, 1915 (2019). “[P]lain and unambiguous” law must be



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enforced “according to its terms.” Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 251

(2010).

          Despite this, Plaintiff seeks to rely on the D.C. consumer protection statute’s legislative

history to distract from the statute’s plain language. (ECF 7 at 12-13.) However, even in doing

this, Plaintiff focuses on legislative history from 2000, which proves to be more than a decade

prior to the passage of D.C. Code § 28-3905(k)(1)(D)(i). In fact, in enacting the statute, the D.C.

Council’s committee report for the statute adding D.C. Code § 28-3905(k)(1)(D)(i) actually

differentiates between actions brought by plaintiffs “as the representative of a class of consumers”

and those brought “individually,” “jointly with other consumers,” or “as a private attorney general

on behalf of the general public.” D.C. Council Committee on Public Services and Consumer

Affairs, Report on Bill 19-0581, at 4 (Nov. 28, 2012). This makes it clear: invoking D.C. Code §

28-3905(k)(1)(D)(i), as Plaintiff does in its Complaint, has consequences.          Doing so takes

Plaintiff’s claims out of the realm of a mere “individual,” “jointly with other consumers,” or

“private attorney general on behalf of the general public” suit and into the realm of a class action

per the explicit language of D.C. Code § 28-3905(k)(1)(D)(i). Plaintiff is the one who explicitly

invoked this provision authorizing suit on behalf of “a class of consumers;” it cannot now disavow

its own Complaint. As a result, and despite Plaintiff’s arguments to the contrary, the legislative

history of D.C. Code § 28-3905(k)(1)(D)(i) makes it clear that the D.C. Council intended for the

statute to contemplate actions brought on behalf of a class of consumers, making them removable

under CAFA.

          Additionally, Plaintiff’s attempts to cast its Complaint as brought under D.C. Code § 28-

3905(k)(1)(C) does not affect this Court’s removal analysis given that Plaintiff, as the master of

its Complaint, also brought a claim pursuant to D.C. Code § 28-3905(k)(1)(D)(i). This Court has



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previously held that the plaintiff “should have recognized that the defendant could exercise its

statutory right of removal” given the complaint as pleaded. See Barnes v. District of Columbia,

42 F. Supp. 3d 111, 120 (D.D.C. 2014). So too here.

       It is further axiomatic that if a “court has original jurisdiction over a single claim in the

complaint,” than the action may be removed, and that “[t]he presence of other claims in the

complaint, over which the district court may lack original jurisdiction, is of no moment.” Exxon

Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 500 (2005). Courts considering the issue

have held that the court may exercise supplemental jurisdiction over non-class complaints

provided that the complaint contains some claims subject to CAFA removal. See, e.g., F5 Capital

v. Pappas, 856 F.3d 61, 81 (2d Cir. 2017); Brown v. Mort. Elec. Registration Sys., Inc., 738 F.3d

926, 933-34 (8th Cir. 2013); Coll. of Dental Surgeons of Puerto Rico v. Conn. Gen. Life Ins. Co.,

585 F.3d 33, 40-41 (1st Cir. 2009). As a result, because Plaintiff made the affirmative decision to

bring a claim under D.C. Code § 28-3905(k)(1)(D)(i), it is immaterial that Plaintiff also brought

its complaint under D.C. Code § 28-3905(k)(1)(C). The Complaint remains subject to CAFA

jurisdiction and is removable.

       Finally, Plaintiff’s reliance on outdated and/or inapplicable case law should be discarded

by this Court. For instance, none of Breakman, Zuckman, General Mills, or Animal Legal Defense

Fund were brought under D.C. Code § 28-3905(k)(1)(D)(i) and make no citation to the statute

central to the analysis here. Further, like Breakman, Zuckman, and General Mills, Plaintiff’s

reliance on National Consumer League v. Flowers Bakeries LLC, 36 F. Supp. 3d 26 (D.D.C. 2014),

fails to account for the subsequent controlling opinion in Rotunda. Indeed, Plaintiff fails to provide

substantive case law to this Court of opinions counseling against jurisdiction that are both post-




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Rotunda and invoking D.C. Code § 28-3905(k)(1)(D)(i). Because Rotunda controls, this matter is

clearly removable.

       C.      Plaintiff’s “mass action” argument is also unavailing

       Plaintiff’s argument that “CAFA carves out an exception for private attorney general suits

akin to” the Complaint, (ECF 7 at 10-11), is unpersuasive on the question of whether the Complaint

is removable as a “class action” for the same reasons as articulated in Section I.B. Plaintiff’s own

Complaint invokes D.C. Code § 28-3905(k)(1)(D)(i), which authorizes suit on behalf of “a class

of consumers.” The exception Plaintiff relies on explains that the exception does not apply to

cases on behalf of “members of a purported class.” 28 U.S.C. § 1332(11)(B)(ii)(3). Since

Plaintiff’s Complaint clearly constitutes a “class action,” it is removable under CAFA and

jurisdiction is appropriate.

II.    CAFA’s Remaining Jurisdictional Requirements Are Satisfied.

       Plaintiff devotes most of its energy to whether its Complaint qualifies as a “class action,”

and does not seriously dispute that the remaining jurisdictional requirements of CAFA are

satisfied. Because the Parties are minimally diverse, the putative class is sufficiently numerous,

and there is at least $5 million at issue, this Court has CAFA diversity jurisdiction.

       A.      The Parties are minimally diverse.

       Plaintiff does not contest that the Parties are minimally diverse, and, in fact, they are.

CAFA diversity exists where “any member of a class of plaintiffs is a citizen of a State different

from any defendant.” 28 U.S.C. § 1332(d)(2)(A). Here, Plaintiff seeks to represent class members

who are citizens of Washington, D.C., while Hain is incorporated under the laws of the State of

Delaware with its principal place of business in the State of New York. (ECF at ¶¶ 45, 106.) As

a result, CAFA’s minimum diversity requirement is satisfied.



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        B.      Plaintiff’s putative class satisfies CAFA’s numerosity requirement.

        Similarly, Plaintiff fails to rebut Hain’s argument that the putative class satisfies CAFA’s

numerosity requirement. CAFA requires that a putative class include at least 100 members. 28

U.S.C. § 1332(d)(5)(B). While Plaintiff fails to define the size of its putative class, as detailed in

Hain’s Notice of Removal, Hain estimates that it sold at least 2,000 units of the Product within the

relevant limitations period. (ECF 1 at ¶ 16.) As a result, and because Plaintiff does not rebut these

figures, this Court may reasonably infer that the relevant putative class exceeds 100 individuals

within Washington, D.C. during the limitations period, satisfying CAFA.

        C.      More than $5 million is in controversy.

        Because Plaintiff does not contest Hain’s calculation of the amount in controversy, and

because CAFA mandates that this Court aggregate damages, CAFA’s jurisdictional minimum is

satisfied. In a class action, “the claims of the individual class members shall be aggregated to

determine whether the matter in controversy exceeds the sum or value of $5,000,000.” 28 U.S.C.

§ 1332(d)(6). Thus, CAFA requires that this Court “add[] up the value of the claim of each person

who falls within the definition of the proposed class.” Std. Fire Ins. Co. v. Knowles, 568 U.S. 588,

592 (2013). In determining the amount in controversy, the removing party need only “offer a

plausible allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart

Cherokee Basin Operating Co., 574 U.S. at 89.              “Evidence establishing the amount [in

controversy] is required . . . only when the plaintiff contests, or the court questions, the defendant’s

allegation.” Id. Since Plaintiff does not substantively contest the amount in controversy, Hain

need not submit specific evidence establishing the amount in controversy and realleges the

amounts in controversy contained in its Notice of Removal based on Plaintiff’s prayer for

injunctive relief, a corrective advertising campaign, punitive damages, attorneys’ and experts fees,



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and statutory damages. (See ECF 1 at ¶¶ 22-29.) Taken together, these amounts clearly exceed

$5,000,000. (See ECF 1 at ¶¶ 22-29.)

        Instead, Plaintiff devotes a single footnote arguing that these damages calculations cannot

be aggregated against the putative class. (ECF 7 at 13 n.22.) Plaintiff’s argument, however, first

ignores that CAFA explicitly requires that damages “shall be aggregated to determine whether

the amount in controversy exceeds the sum or value of $5,000,000.” 28 U.S.C. § 1332(d)(6)

(emphasis added). As a result, the Supreme Court has mandated that this Court “add[] up the value

of the claim of each person who falls within the definition of the proposed class.” Std. Fire Ins.

Co. v. Knowles, 568 U.S. 588, 592 (2013). Plaintiff incorrectly relies on non-CAFA jurisprudence

to oppose aggregation, 3 despite the fact that “CAFA eliminates the general rule of non-aggregation

for purposes of determining the amount in controversy.” Steinberg v. Nationwide Life Mut. Ins.

Co., 418 F. Supp. 2d 215, 218 (E.D.N.Y. 2006); see also Oshana v. Coca-Cola Co., 472 F.3d 506,

511 n.2 (7th Cir. 2006) (holding that CAFA “did away with the nonaggregation rule”). Thus, both

the statute and the Supreme Court require that this Court aggregate the amount in controversy

when determining the amount in controversy when removal is under CAFA. Indeed, courts in this

District have routinely held that class claims may be aggregated under CAFA along with claims

for punitive damages and attorneys’ fees. See, e.g., Pleznac v. Equity Residential Management,

L.L.C., No. 17-cv-2732 (CRC), 2018 WL 10196622, at *3 (D.D.C. May 8, 2018) (holding CAFA

jurisdictional minimum met by aggregating statutory damage claims and before even aggregating

punitive damages and attorneys’ fees); McMullen v. Synchrony Bank, 82 F. Supp. 3d 133, 139-40



3
  The two cases cited by Plaintiff, Witte v. Gen. Nutrition Corp., 104 F. Supp. 3d 1, 6 (D.D.C. 2015), and Breakman
v. AOL LLC, 545 F. Supp. 2d 96, 105 (D.D.C. 2008) (and the entire non-aggregation jurisprudence in this Court), both
relate only as to diversity jurisdiction and whether the $75,000 amount-in-controversy threshold has been met. This
is because, as stated infra, the non-aggregation principle does not apply to cases invoking CAFA jurisdiction. Thus,
the non-aggregation principle and the cases cited by Plaintiff for that proposition do not apply here.


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(D.D.C. 2015) (aggregating requested class relief); Cannon, 908 F. Supp. 2d at 1113-14 (accord).

Since Plaintiff does not contest that amount itself, and because Plaintiff seeks class relief on behalf

of a putative class of D.C. consumers, more than $5,000,000 is in controversy and CAFA

jurisdiction is satisfied.

III.    Alternatively, Plaintiff’s Complaint is Removable Under 28 U.S.C. § 1331.

        Finally, even if this Court determines that Plaintiff’s Complaint does not constitute a “class

action,” removal is appropriate because the Complaint implicates significant federal issues.

Specifically, Plaintiff inter alia seeks to challenge whether the Product may be labeled and

marketed as “organic” under the Organic Food Product Act of 1990 (“OFPA”), 7 U.S.C. § 6501

et seq., and federal regulations. Despite not making explicit references to the OFPA or federal

law, Plaintiff’s Complaint is replete with references to the use of “organic” in the Product’s

labeling and marketing. (ECF 1-1. at ¶ 16 (depicting “Organic Dairy” labeling claim); ¶ 17

(depicting “30 Years of Organic” claim); ¶ 26 (identifying the Product as “Organic Dairy”

product); ¶ 69 (identifying “you can feel good knowing there is an organic choice-Earth’s Best

Organic” labeling claim); ¶ 71 (depicting “30 Years of Organic” claim); ¶ 72 (identifying and

depicting “Nurture your growing baby with only the purest, natural, organic products from Earth’s

Best” marketing claim); ¶ 79 (identifying the Product as “Organic Dairy” product).)

        Indeed, the opening paragraph of Plaintiff’s Complaint proudly proclaims that it targets

“the deceptive labeling, marketing, and sale of Earth’s Best Organic Dairy Infant Formula with

Iron – Milk Based Powder.” (ECF 1-1 at 1.) Plaintiff’s newfound claim that it actually brought a

suit regarding whether the Product is “adulterated” is simply wrong. (ECF 7 at 14.) Plaintiff, by

its own pleading, brings a false labeling suit, and the only relevant labeling and marketing claim




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is whether the product can be considered “organic.” 4 In fact, Plaintiff’s Complaint appears to be a

thinly-veiled recasting of Organic Consumers Association v. Hain Celestial Group, Inc., 285 F.

Supp. 3d 100 (D.D.C. 2018). In that suit, this Court held that plaintiff’s attempts to challenge

whether Hain’s Earth’s Best infant and toddler formulas were mislabeled as “organic” were

federally preempted: “To allow private suit under the [D.C.’s consumer protection law] for

violations of the OFPA presents an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.” Id. at 108. Plaintiff’s Complaint references no other

labeling and marketing claim other than “organic” that would imply a lack of BPA in the Product

itself (as opposed to the packaging), meaning that it must be the claim Plaintiff alleges is

deceptive.

        Under Supreme Court precedent, “federal-question jurisdiction will lie over state-law

claims that implicate significant federal issues.” Grable & Sons Metal Prods., Inc. v. Darue Eng’g

& Mfg., 545 U.S. 308, 313 (2005). Under Grable, a federal court may exercise federal question

jurisdiction over a state law claim where: 1) the “state-law claim necessarily raise[s] a stated

federal issue”; 2) the federal issue is “actually disputed and substantial”; and 3) the exercise of

federal jurisdiction will not “disturb [] any congressionally approved balance of federal and state

judicial responsibilities.” Id. at 314. In this action, Plaintiff’s repeated references to Hain’s

“organic” labeling and marketing claims make clear that adjudication of Plaintiff’s D.C. consumer

protection claim necessarily implicates and raises a federal issue: whether the Product may be

labeled and marketed as “organic” despite allegedly containing de minimis amounts of BPA.

Indeed, as the Organic Consumers Association court held, Plaintiff’s suit “presents an obstacle to



4
  Plaintiff’s Complaint makes a single reference to a marketing claim that the Product’s packaging does not contain
BPA. (ECF 1-1 at ¶ 18.) However, Plaintiff alleges the Product itself contains BPA, not the Product’s packaging. As
a result, this packaging claim cannot be the relevant alleged misrepresentation.

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the accomplishment and execution of the full purposes and objectives of Congress” in passing the

OFPA. 285 F. Supp. 3d at 108. As a result, Plaintiff’s Complaint necessarily raises “an important

issue of federal law that sensibly belongs in a federal court,” Grable, 545 U.S. at 315, and removal

is appropriate pursuant to 28 U.S.C. § 1331.

                                                  CONCLUSION

           WHEREFORE, Hain respectfully requests that this Court deny Plaintiff’s motion to

remand. 5



    Dated: December 21, 2020                            Respectfully submitted,

                                                        /s/ A. Wolfgang McGavran
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    A proposed order is attached hereto as Exhibit A.

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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 21, 2020, a true and correct copy of the foregoing
instrument was electronically filed using the CM/ECF system, and also served by the CM/ECF
system to all counsel of record who have consented to electronic service.




                                         /s/ A. Wolfgang McGavran
                                         A. Wolfgang McGavran (DC Bar No. 241891)




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